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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                         §
       Plaintiffs,                       §
                                         §
vs.                                      §   Civil Action No. 1:17-cv-00365-DAE-AWA
                                         §
GRANDE COMMUNICATIONS                    §
NETWORKS LLC and PATRIOT MEDIA           §
CONSULTING, LLC.,                        §
                                         §
       Defendants.                       §
                                         §
                 PLAINTIFFS’ OPPOSITION TO DEFENDANT
      GRANDE COMMUNICATIONS NETWORKS LLC’S MOTION TO EXCLUDE
        PROPOSED EXPERT TESTIMONY OF ROBERT A. BARDWELL, Ph.D.
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                                       INTRODUCTION

       Robert A. Bardwell, Ph.D., is an eminently qualified statistician who, using methods

routinely accepted by other courts, demonstrated that thousands of Grande’s subscribers repeatedly

infringed one or more of Plaintiffs’ copyrighted recordings. Grande seeks to exclude this evidence

of rampant, repeat copyright infringement on its network, yet Grande has not identified a single

way in which Dr. Bardwell’s analysis is unreliable. Dr. Bardwell presented materially identical

trial testimony based on the same kind of data in BMG Rights Management (US) LLC v. Cox

Communications, Inc., No: 1-14-cv-01611 (E.D. Va.) in December 2015. In that case, Cox moved

to exclude Dr. Bardwell’s testimony on similar grounds as Grande. The district court denied that

motion, and the Fourth Circuit affirmed. The Court should do likewise here.

       First, Grande contends that Dr. Bardwell improperly offers an opinion on the legal standard

or on ultimate legal issues in this case by using the words “infringement” and “repeat infringers.”

But Dr. Bardwell’s use of those terms is entirely proper. He offers a probability analysis and uses

those terms in way that is accurate and fully supported by the case law. And Grande’s quibbling

over terminology has no bearing on the reliability of Dr. Bardwell’s analysis.

       Second, Grande’s challenge to the relevance of Dr. Bardwell’s testimony is equally

unavailing. Dr. Bardwell’s testimony about the volume of repeat infringers on Grande’s network

relates directly to Grande’s knowledge of infringing activity on its network. That knowledge is

relevant to statutory damages and Grande’s claim that it is eligible for the Digital Millennium

Copyright Act’s (“DMCA”) safe harbor. His testimony also helps show Grande’s willfulness,

which is relevant to the calculation of statutory damages.

       Third, notwithstanding Grande’s argument to the contrary, Dr. Bardwell is legally

permitted to explain uncontradicted background facts to the jury as context for his opinions.

       Finally, Grande’s various other attempts to limit Dr. Bardwell’s testimony all lack merit.

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                                        BACKGROUND

           Dr. Bardwell’s Qualifications

       Dr. Bardwell has a Ph.D. in mathematical statistics. He has applied his expertise in

statistics and probability theory across many different subject matters, for many different clients,

as both a consultant and testifying expert. Dr. Bardwell was recently qualified as an expert in the

Cox case, in which he presented testimony very similar to his testimony in this case. He has been

qualified as an expert 20 times in previous cases (including Cox).1

       Grande does not actually challenge his qualifications. Instead, Grande takes a perfunctory

swipe at Dr. Bardwell by citing three cases in which courts limited his opinions. But none of those

cases is relevant, which is presumably why Grande fails to examine or discuss them. All three

were employment discrimination cases where Dr. Bardwell analyzed disparate impact data.2 In

Werede, the court found that Dr. Bardwell had insufficient data (which was provided by the

opposing side),3 and the Manley and Coleman courts found that Dr. Bardwell needed to have

addressed certain variables relevant to employment discrimination law. None of those criticisms

is relevant here, where the available data is robust and voluminous, and Grande identifies no

inaccuracies in Dr. Bardwell’s opinions. Those cases provide no basis for excluding his testimony

here. See In re Ready-Mixed Concrete Antitrust Litigation, 261 F.R.D. 154, 163-64 (S.D. Ind.

2009) (discounting prior exclusions in unrelated cases).4


1
  Ex. A, BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., No: 1-14-cv-01611 (E.D. Va.),
12/8/2015 (Vol 5. am) Trial Tr. 1014:22-1015:12 [Dkt. 723].
2
  Manley v. Nat’l ProSource, Inc., No. 4:11-cv-2408, 2013 WL 3480385, at *7-*8 (S.D. Tex. July
10, 2013); Coleman v. Oracle USA, Inc., No. 0:09-cv-3472, 2011 WL 2746187, at *6 (D. Minn.
July 14, 2011); Werede v. Allright Holdings, Inc., No. 1:03-cv-1167, 2005 WL 2124553, at *5 (D.
Colo. Sept. 2, 2005).
3
  Ex. A, Cox 12/8/2015 (Vol 5. am) Trial Tr. 1015:13-1017:20 [Dkt. 723].
4
  See also Radware, Ltd. v. F5 Networks, Inc., No. 13-CV-02024-RMW, 2016 WL 590121, at *16
(N.D. Cal. Feb. 13, 2016) (excluding all mention of prior Daubert challenges from trial), order
clarified, No. 5:13-CV-02024-RMW, 2016 WL 9001260 (N.D. Cal. Feb. 22, 2016).

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           Dr. Bardwell’s Opinions

       In this case, Dr. Bardwell analyzed data from Rightscorp and from Grande to show the

number of individual Grande subscribers who offered to distribute copyrighted works for

download on BitTorrent—including the works for which Plaintiffs seek damages. Throughout his

report, Dr. Bardwell refers to such activity—properly—as “infringement.” The Rightscorp data

does not include a subscriber’s actual identity, and instead only lists IP addresses.5 Because

Grande IP addresses can sometimes be reassigned to a different subscriber, Dr. Bardwell’s analysis

shows which IP address corresponds to infringing activity by an individual subscriber.6

       Dr. Bardwell created a statistical model, materially identical to the one he presented at the

Cox trial, using standard techniques in probability analysis.7 The model assesses the likelihood

that a particular IP address, sharing a particular song or set of songs, on particular dates, using

particular ports,8 belongs to a single Grande subscriber. The probability model identifies what Dr.

Bardwell terms “Verified Accounts”—a 95-percent or higher probability that multiple Rightscorp-

identified infringements came from the account of a single Grande subscriber.

       His results show extensive and repeat infringement by Grande subscribers.             Using

Rightscorp’s data showing 1,325,221 infringements on Grande’s network, Dr. Bardwell identified

10,284 Verified Accounts, of which 4,854 Verified Accounts offered to share at least one of the

works at issue in this lawsuit for two days or more (with an average period of 57 days).9 Further,



5
  An IP address is a unique code for the final destination of data being transferred through a
network. Grande Mot., Ex. 1 (Bardwell Initial Rpt.), at 7.
6
  Just last week, Grande produced additional information on this point that may be relevant for Dr.
Bardwell’s opinions, and his analysis of this data is underway. Ex. B, Bardwell Dep. Tr. at
97:25:98-3 (referring to data that Grande allegedly will be producing, but has not yet produced).
7
  Id. at 15:18-18:8.
8
  A “port” is an identifier from 0 to 65535 that a computer assigns to any particular group (or
“packet”) of information transmitted over the internet. Grande Mot., Ex. A, at 7.
9
  Grande Mot., Ex. 1 at 22-23.

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the mean number of infringements in each Verified Account is 106, and the maximum number of

Infringements for a Verified Account is 33,420. Dr. Bardwell’s initial report also analyzed

infringement data from Grande that validated those results, and did not reveal any errors.10 A few

days prior to Dr. Bardwell’s initial report, Grande produced 1,346,353 infringement notices

received by Grande. With that additional data, he was able to identify 1,085 additional Verified

Accounts that offered one or more of the works in suit for download. As with the prior, incomplete

Grande data, the new Grande data supports Dr. Bardwell’s analyses.11

                                      LEGAL STANDARD

       A qualified expert’s testimony is admissible whenever it is relevant and reliable. Daubert

v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 597 (1993); see Fed. R. Evid. 702.

Testimony does not become “unreliable,” and therefore inadmissible, merely because an opposing

party raises analytical criticisms or challenges the accuracy of the opinion’s underlying data, as

those criticisms “go to probative weight rather than to admissibility.” Tyler v. Union Oil Co. of

California, 304 F.3d 379, 392 (5th Cir. 2002) (rejecting Daubert challenge of a statistical analysis

and its underlying data); see also Fortune Prod., Inc. v. Bass Pro, Inc., No. A-11-CV-1006-LY,

2013 WL 12076932, at *2 (W.D. Tex. Sept. 11, 2013) (Yeakel, J.) (denying Daubert motion

because “vigorous cross-examination, presentation of contrary evidence, and careful instruction

on burden of proof are means of attacking evidence”).12




10
   Id. at 24-31.
11
   Id., Ex. 2 at 3, 7.
12
   See, e.g., Wealthmark Advisors Inc. v. Phoenix Life Ins. Co., No. SA16CA00485FBESC, 2017
WL 1133506, at *5 (W.D. Tex. Mar. 24, 2017) (“While Wealthmark may disagree with the facts
upon which McAleer bases his analysis, the proper vehicle for Wealthmark to challenge McAleer’s
opinion is cross-examination.”); Browning v. Sw. Research Inst., No. No. SA–05–CA–0245–FB,
2006 WL 6549921, at *2 (W.D. Tex. Aug. 17, 2006) (quoting Hartley v. Dillards, Inc., 310 F.3d
1054, 1061 (8th Cir. 2002)) (same).

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                                           ARGUMENT

       DR. BARDWELL CAN USE THE TERM “INFRINGEMENT,” AND HIS TESTIMONY ABOUT
       INFRINGEMENTS IS ENTIRELY PROPER.

       Grande argues that Dr. Bardwell should not be allowed to testify at all because his report

uses the terms “infringement” and “repeat infringement.” Mot. at 2-7. But Grande’s argument is

incorrect, and the remedy Grande seeks vastly overreaches. First, Cox sought to preclude Dr.

Bardwell’s testimony on the same grounds—that his report used the term “infringement”13—and

the Cox court rejected that argument and denied Cox’s motion.14 Dr. Bardwell then testified at the

Cox trial using the terms “infringement” and “repeat infringement.”15 Cox appealed that ruling,

and the Fourth Circuit rejected Cox’s argument, holding that the district court did not abuse its

discretion because “the court clearly and carefully instructed the jurors that they alone could

determine infringement.” BMG Rights Mgt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293, 314

(4th Cir. 2018). Dr. Bardwell should be permitted to testify in the same manner here.

       Second, Dr. Bardwell does not “opine on the applicable legal standard.” Mot. at 2. He does

not express any opinions on the legal standard applicable to Plaintiffs’ claim against Grande for

secondary copyright infringement. As Dr. Bardwell explained during his deposition, the terms

“infringement” and “repeat infringement” reflect the terminology used in the Rightscorp data, not

his opinion about the proper legal standard.16 Dr. Bardwell confirmed multiple times during his

deposition that he is not rendering a legal opinion.17 He also stated that his opinion does not even



13
   Cox, Mem. ISO Cox’s Motion to Exclude The Testimony of Putative Expert Robert A. Bardwell,
PhD, at 8-10. [Dkt. 474].
14
   Cox, Order at ¶ 4, [Dkt. 691].
15
   See, e.g., Ex. A, Cox, 12/8/2015 (Vol 5. a.m.) Trial Tr. at 959:8-960:9, 969:7-17, 975:10-975:24.
16
   Ex. B, Bardwell Dep. Tr. at 59:24-60:25.
17
   Id. at 62:1-8 (“If you’re saying am I going to be testifying about the relationship of this data and
copyright law, the answer is no.”); see also id. at 60:14-17 (“Q. Are you intending to opine to the
jury at trial on what it means to be an infringer under the copyright law? A. No.”)

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depend on the legal definition of copyright infringement because the probability analysis stands

on its own, irrespective of what term is used.18 Grande’s argument that expert opinion on the

appropriate legal standard should be excluded is therefore beside the point.19

       Nor does Dr. Bardwell “invade the province of the jury,” Mot. at 5, by opining on the

ultimate legal issue—whether Grande is liable for secondary copyright infringement. Grande’s

citations to cases precluding experts from testifying about the ultimate issue of liability are thus

entirely irrelevant. Id. at 2-3. For example, the Akasanse court affirmed the exclusion of a lawyer-

expert’s testimony that officers and directors breached their fiduciary duties (an ultimate issue in

dispute).20 Similarly, in Estate of Sowell, the court affirmed the exclusion of testimony on “what

a reasonable fiduciary would do when confronted with facts identical to those in this case.”21 And

in Owen, the court ruled that the trial court properly sustained an objection to a question about the

“cause of the accident.”22 Grande’s other non-binding cases are no more persuasive because they

all exclude opinions on ultimate legal issues—even though Dr. Bardwell does not opine on any

ultimate legal issues.23 At trial, Dr. Bardwell will instead describe his probability model, explain

why it is relevant and appropriate in this case based on the data available, and provide his results

of applying that model to data from Rightscorp and from Grande.

       Third, Dr. Bardwell’s use of the term “infringement” is neither confusing nor incorrect.


18
   Id. at 59:9-61:25, 109:4-14, 115:2-9.
19
   In Morris v. Equifax Info. Servs., LLC, the court excluded a lawyer, representing himself pro se,
from designating himself as an expert on “contractual liability under Texas law.” No. CIV.A. H-
04-423, 2005 WL 5976334, at **6-7 (S.D. Tex. Jan. 19, 2005), cited in Mot. at 3. In Washington
v. City of Waldo, Fla., the court excluded testimony opining on the definition of a lawful arrest
that “seemingly contradicts binding Supreme Court and Eleventh Circuit law regarding probable
cause.” No. 1:15-CV73-MW/GRJ, 2016 WL 3545909, at *4 (N.D. Fla. Mar. 1, 2016).
20
   Akanase v. Fatjo, 13 F.3d 657, 672-73 (5th Cir. 1997).
21
   Estate of Sowell v. United States, 198 F.3d 169, 171 (5th Cir. 1999).
22
   Owen v. Kerr-McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983).
23
   For example, in Morris the lawyer-expert was precluded from opining on whether he was
jointly liable on a credit card. 2005 WL 5976334, at **6-7.

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Dr. Bardwell defines this functional term clearly in his report as “a single observation of a

copyrighted work being available for sharing.”24 Consistent with that definition, Dr. Bardwell

uses the term “repeat infringement” to mean a Verified Account.25 And he uses both terms

consistently throughout his initial and rebuttal reports. While Dr. Bardwell is clear that he is not

presenting a legal opinion, his definition of “infringement” is legally correct. Every district court

in this Circuit to have addressed the question has found that offering to distribute recordings

through online file-sharing is actionable as copyright infringement—a conclusion consistent with

Fifth Circuit law on direct infringement.26 That is exactly what the Rightscorp system detects—

offering to distribute recordings on the online file-sharing program BitTorrent—and Dr.

Bardwell’s model uses those detected infringements. Where, as here, experts use accurate legal

terms—without instructing on the law or reaching ultimate legal conclusions—they are permitted

to testify using those terms. See Trishan Air, Inc. v. Dassault Falcon Jet Corp., No. CV 08-7294-

VBF(JTLX), 2011 WL 13182976, at *3 (C.D. Cal. Apr. 19, 2011) (denying Daubert motion to

preclude expert from relying on regulations and “terminology derived from applicable law”).27

       Fourth, even if Grande’s reasons for excluding Dr. Bardwell’s opinions were correct

(which they are not), its motion greatly overreaches. The straightforward remedy would be simply

to instruct Dr. Bardwell to use alternate terms instead of “infringement” or “repeat infringement.”

See, e.g., Wealthmark Advisors Inc. v. Phoenix Life Ins. Co., No. SA16CA00485FBESC, 2017


24
   Grande Mot., Ex. 1, at 5.
25
   Id.
26
   Pls’ Response in Opp. to Mot. and Cross-Mot. for Summ. J. at 11-13 [Dkt. 172]; Pls’ Reply
ISO Cross-Mot. for Summ. J. at 2-3 [Dkt. 209].
27
   See also Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1059 (9th Cir. 2008)
(“[A] district court does not abuse its discretion in allowing experts to use legal terminology…”);
Specht v. Jensen, 853 F.2d 805, 809 (10th Cir. 1988) (“A witness may refer to the law in expressing
an opinion without that reference rendering the testimony inadmissible. Indeed, a witness may
properly be called upon to aid the jury in understanding the facts in evidence even though reference
to those facts is couched in legal terms.”).

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WL 1133506, at *5 (W.D. Tex. Mar. 24, 2017) (permitting expert to testify as to factual analysis,

but not as to meaning of legal terms or legal conclusions).

       DR. BARDWELL’S TESTIMONY REGARDING INFRINGEMENTS OF OTHER WORKS IS
       BOTH RELEVANT AND RELIABLE.

       Dr. Bardwell identified hundreds of thousands of infringements memorialized in

Rightscorp infringement data that pertain to works other than those asserted in this litigation, and

5,430 Verified Accounts that repeatedly infringed others’ copyrights.28 Grande asserts this

testimony is “plainly not relevant to any issue in this case,” Mot. at 6, but that is incorrect. A

central issue in this case is whether Grande had knowledge of infringement on its network. If

Grande tries to dispute that it had knowledge of rampant infringement by its subscribers, Dr.

Bardwell’s analysis counters that narrative by demonstrating that Grande received notice of

extensive infringement and repeat infringement by Grande users. The extent of infringing activity

is also directly relevant to statutory damages, which considers, as a factor, Grande’s knowledge

and willfulness. See 17 U.S.C. § 504(c)(2); see also Zomba Enters., Inc. v. Panorama Records,

Inc., 491 F.3d 574, 584 (6th Cir. 2007).

       In addition, Grande has asserted the DMCA safe harbor as an affirmative defense. But

Grande is eligible for the safe harbor only if Grande adopted and reasonably implemented a policy

for terminating repeat infringers. Dr. Bardwell’s testimony about the large number of repeat

infringers on Grande’s network—combined with Grande’s failure to terminate any repeat

infringers—is directly relevant to whether Grande is entitled to the safe harbor.29



28
  Grande Mot., Ex. 1, at 23.
29
  Grande also incorrectly argues that Dr. Bardwell’s testimony is “facially unreliable” because he
has not personally confirmed that someone owned a copyright for the Rightscorp notices regarding
other works not at issue in this case. Mot. at 6. But this is a red herring. Dr. Bardwell is not
offering testimony as to the ownership of copyrighted works (either the works in suit here or any
others); other witnesses are addressing that issue for Plaintiffs.

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       DR. BARDWELL SHOULD BE PERMITTED TO DESCRIBE UNCONTRADICTED FACTS ON
       WHICH HIS OPINIONS RELY.

       Although it has not identified a single incorrect statement in Dr. Bardwell’s report or his

deposition testimony about internet protocols, file sharing on peer-to-peer networks, or

Rightscorp’s system, Grande seeks to preclude Dr. Bardwell from describing these background

facts when he explains his analysis. There is no factual or legal basis for Grande’s request. Dr.

Bardwell analyzes the patterns in Rightscorp’s data, including IP addresses and files shared using

BitTorrent, to identify repeat infringement. The concepts of internet protocols, file sharing, and

Rightscorp’s system are thus necessary background to understand his analysis—not “opinions.”

Without Dr. Bardwell’s being able to mention or describe those basic facts, the jury will not be

able to fully understand his analysis. This is why courts routinely reach the common sense

conclusion that experts may describe factual background necessary for their opinions. See, e.g.,

Nunn v. State Farm Mut. Auto. Ins. Co., No. 3:08-CV-1486-D, 2010 WL 2540754, at *12 (N.D.

Tex. June 22, 2010) (allowing expert testimony about background information). Dr. Bardwell

provides background and context for his opinions and does so using his general knowledge of

uncontroverted facts, such as how BitTorrent and IP addresses work. This is a well-accepted and

proper approach, and Grande does not cite a single case to the contrary.

       GRANDE’S OTHER MISCELLANEOUS ARGUMENTS ALSO FAIL.

       Grande’s scattershot motion also includes three miscellaneous arguments that the Court

should reject.   First, Grande seeks to preclude Dr. Bardwell from testifying about the

approximately 59,000 files that were downloaded from Grande’s subscribers and that contain the

works for which Plaintiffs seek damages.       Mot. at 8-9.    But Grande mischaracterizes Dr.

Bardwell’s written testimony, which does not rely on those downloads. He only raised them in

response to a deposition question by Grande’s counsel asserting that Dr. Bardwell has “zero



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evidence of any downloads taking place.”30 Grande may not like the answer—the downloads are

devasting evidence of Grande’s liability—but that is no ground for excluding it.

       Second, Grande’s effort to exclude Dr. Bardwell from testifying on copyright damages

again mischaracterizes his opinions and testimony. Mot. at 9. As Dr. Bardwell confirmed at his

deposition, he has no opinions on the method for calculating damages.31 Dr. Bardwell instead

explains how Grande’s proposed damages expert, Jonathan Kemmerer, misconstrued Dr.

Bardwell’s results and the Rightscorp data on which Dr. Bardwell relied in Mr. Kemmerer’s

damages report.32 That is not an opinion about a method for calculating damages; it is testimony

about an input for Mr. Kemmerer’s flawed damages opinion. Indeed, Dr. Bardwell confirmed at

his deposition that he is merely critiquing Mr. Kemmerer’s inputs.33 Dr. Bardwell is fully qualified

to discuss both the data and his analysis and to critique Mr. Kemmerer’s incorrect use of both.

       Third, Grande seeks to exclude analysis from Dr. Bardwell’s rebuttal report because it

asserts that Grande’s production of 1,346,353 infringement notices could have been addressed in

his initial report. Mot. at 9-10. That argument is incorrect. Grande produced that voluminous

data on July 6, 2018—one week before the July 13, 2018 initial expert report deadline. It was not

possible for Dr. Bardwell to analyze those 1.3 million notices in a mere week, and so he included

the analysis in his rebuttal report. Because his initial report could not have practically addressed

that data, the Court should reject Grande’s effort to exclude the analysis on that basis.

                                         CONCLUSION

       Plaintiffs respectfully request that the Court deny Grande’s motion in its entirety.


30
   Ex. B, Bardwell Dep. Tr. at 81:18-82:23.
31
   Id. at 110:10-13. (“Q. But you don’t intend to offer opinions in this case on actual damages or
statutory damages. Is that correct? A. That’s correct”).
32
   Grande Mot., Ex. 3, at 11-12.
33
   Ex. B, Bardwell Dep. Tr. at 109:4-14 (“…Mr. Kemmerer, if he is relying on our counts of --
my counts of infringement, he’s undercounting for damages purposes.”).

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Dated: October 31, 2018          Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on October 31, 2018 all counsel of record who are deemed
to have consented to electronic service are being served with a copy of this document via the
Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                           /s/ Daniel C. Bitting
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